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                   IN THE UNITED STATES DISTRICT COURT LCK DtV.
                  FOR THE SOUTHERN DISTRICT OF GEORGI A
                            BRUNSWICK DIVISION
                                                                    2006 JAN 13 4 rrA~~ 14' l
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UNITED STATES OF AMERICA

                                                      CASE NO . : CR205-3 2
             V.

KALVIN LASHAWN MANGRAM
DENNIS MITCHELL



                                      ORDER


      Defendant Dennis Mitchell has filed a Motion in Limine seeking to exclude from the

trial of this case any statement made by Co-Defendant Kalvin Lashawn Mangram and the
masks recovered during the stop of the vehicle . The Government has filed no response

to the motion indicating no opposition thereto . Accordingly, Defendant Mitchell's

unopposed Motion in Limine 1is GRANTED .

      SO ORDERED , this /3 lay of January, 2006.




                                                 ~C
                                                  M tS E . GRAHA M
                                                 NITED STATES MAGISTRATE JUDGE
